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                                                  U.S. Department of Justice

                                                  United States Attorney
                                                  Eastern District of Missouri

                                                  Organized Crime Drug Enforcement Task Force

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                                                                                         Jeannette.graviss@usdoj.gov


                                                March 12, 2019

      Mr. Gregory J. Linhares
      U.S. District Court Clerk
      111 South 10th Street, 3rd Floor
      St. Louis, MO 63102

             Re:      United States v. Marlon Mitchell, et al.
                      Cause No. 4:19 CR 196 RLW (NAB)

      Dear Mr. Linhares:

             The indictment returned by the Grand Jury in the above-captioned case on March 6, 2019,
      was ordered suppressed pending the apprehension of the defendants named therein.

             At least one defendant has now been apprehended. Therefore, it is directed that the
      suppression order of this indictment be lifted.



                                                    Very truly yours,

                                                    JEFFREY B. JENSEN

                                                    United States Attorney



                                                    /s/ Jeannette S. Graviss
                                                    Jeannette S. Graviss, #44483MO
                                                    Assistant United States Attorney
JSG/sab
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